                                                              United States Bankruptcy Court
                                                               Middle District of Tennessee
In re:                                                                                                                 Case No. 20-03561-MFH
LIVINGSCAPES, LLC                                                                                                      Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0650-3                                                  User: rww2574                                                               Page 1 of 2
Date Rcvd: Sep 23, 2021                                               Form ID: pdf001                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 25, 2021:
Recip ID                 Recipient Name and Address
db                     + LIVINGSCAPES, LLC, PO BOX 91047, Nashville, TN 37209-9047

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 25, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 23, 2021 at the address(es) listed
below:
Name                               Email Address
GREGORY ROBERT ATWOOD
                                   on behalf of Creditor Cassie Burton gregatwoodlaw@gmail.com ecf.amlaw@gmail.com

JEFFREY S GRASL
                                   on behalf of U.S. Trustee US TRUSTEE jeffrey.s.grasl@usdoj.gov

LEFKOVITZ AND LEFKOVITZ, PLLC
                         on behalf of Debtor LIVINGSCAPES LLC slefkovitz@lefkovitz.com,
                         sllbkecf@gmail.com;khancock@lefkovitz.com;lefkovitzcvlecf@lefkovitz.com;r52946@notify.bestcase.com;mspezia@lefkovitz.c
                         om

MATTHEW R MURPHY
                                   on behalf of Creditor SYNOVUS BANK mmurphy@smythehuff.com

ROBERT H WALDSCHMIDT
                                   on behalf of Interested Party Robert H. Waldschmidt rhw@rhwlawoffice.com rhw@trustesolutions.com;rhw@trustesolutions.net




            Case 3:20-bk-03561                   Doc 106 Filed 09/25/21 Entered 09/26/21 00:13:43                                                Desc
                                                Imaged Certificate of Notice Page 1 of 3
District/off: 0650-3                                      User: rww2574                                               Page 2 of 2
Date Rcvd: Sep 23, 2021                                   Form ID: pdf001                                            Total Noticed: 1
STEPHEN RAY BUTLER
                          on behalf of Creditor TN Dept of Revenue agbankHarrison@ag.tn.gov steve.butler@ag.tn.gov

US TRUSTEE
                          ustpregion08.na.ecf@usdoj.gov


TOTAL: 7




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                                      Imaged Certificate of Notice Page 2 of 3
       Dated: 9/22/2021




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    This order was signed and entered electronically as indicated at the top of the first page.



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 /s/Robert H Waldschmidt
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                                                                      This Order has been electronically
                                                                      signed. The Judge's signature and
                                                                      Court's seal appear at the top of the
                                                                      first page.
                                                                      United States Bankruptcy Court.




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